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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Case No. 17-1174T
(Senior Judge Charles F. Lettow)

ALI TAHA ON BEHALF OF HIS DECEASED
BROTHER AND HIS BROTHER'S WIFE
MOHAMAD BE. TAHA (Deceased) and

GSANAA M. YASSIN, his wife

Pro Se Plaintiffs

Vv.

THE UNITES STATES OF AMERICA

Defendant

PLAINTIFFS’ OBJECTION TO COURT’S
SECOND POST TRIAL ORDER

To the Honorable Senior Judge Charles F. Lettow:
On behalf of my deceased brother and my brother’s wife, I

respectfully file this second Objection to Court’s Post-Trial Order

filed on May 1, 2020, ECF No. 96.

With utmost respect to the Honorable Judge, the Court and
Defendant and its Counsel, I file this objection for the simple
reasons briefly reemphasized below. I apologize for any possible
occurrence of unintended or inadvertent grammatical expressions due
to language barriers. For the sake of justice to plaintiffs, I ask
this Honorable Court to respectfully reconsider its orders of

dismissals and denials that were improperly assessed to the wrong

 
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refund claims (2002 & 2003) that were moot, instead of the actual
subject claim of this action (2004), and grant Plaintiffs their tax

refund claim of $14,177.

The absolute issue here in this action is the 2004 refund
claim of $14,177, inclusive of the taxes paid for 2002 ($8,573) and
2003 ($5,604). This claim essentially created a loss for 2004 that
can be carried back to 2002 and 2003 (6511). The IRS admitted that
the 27004 refund claim was correctly filed within the 7-year statue
(6511) for the year within which the bona fide business bad debt
became worthless, i.e., year 2004. The IRS with its 33 agents and 6
States, and continuous messy follow ups on communications and
processes, failed to process the refund claim, even with all the
preponderance of evidence for the bad debt and correspondence that
followed. (PX A-K; DX 1-12, 26, 32-33). That prompted Plaintiffs to
file their Complaint, ECF No. 4, specifically to recover their
taxes as claimed in amended tax year 2004, Form 1040X. Defendant
and the Court ignored these facts, They failed to recognize the
IRS’ admission of the 2004 refund claim, since the Complaint was

filed on September 17, 2017.

Years 2002 and 2003 claims as filed individually were rendered

moot once the 2004 refund claim was filed and admitted by the IRS.

Defendant requested in its Motion to Dismiss years 2002 and

2003, ECF No. 12, as evidenced by its conclusion, Page 14:

 
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“Defendant respectfully requests that the Court grant the
motion to dismiss. First plaintiffs failed to timely file
their complaint for 2002. Second, plaintiffs failed to timely
file an administrative claim for 2003, or if they did, the
claim was untimely..."

The Court, in its Order and Opinion, ECF No. 20, P. 9, as
evidenced by its conclusion, obliged and dismissed the 2002 and

2003 claims, as Defendant requested, even though these two years

were rendered moot:

“For the reasons stated, the court has no jurisdiction to
consider the plaintiffs’ claims, and thus, the Court GRANTS
the defendant’s motion to dismiss [2002 & 2003].”

Your Honor, Defendant’s Motion to Dismiss, mentioned that the
year 2004, Form 1040X was filed in two simple sentences and five
lines out of total 307 lines and 14 pages of the Motion. D’s Mt.
ECF 12, p. 5-6. There was no objection or discussion or request for
dismissal for the 2004 refund claim. The Motion concentrated on the
2002 and 2003. For this reason, Defendant requested to dismiss 2002
and 2003 only which were moot, as evidenced in its conclusion
stated above, ECF No. 12, p. 14.

In response, the Court obliged and granted Defendant's Motion,

as specifically requested, to dismiss the 2002 and 2003 claims that

were moot. No dismissal of year 2004 refund claim was mentioned.

Plaintiffs, in their Motion, ECF No. 15 Objected Defendant's

Motion to dismiss. In their Motion, ECF No. 25, they objected to

 
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the Court’s Order and Opinion, that granted Defendant’s motion to

dismiss. The Court “filed away” the objection with no response.

Plaintiffs appealed. The Federal Circuit essentially erred in
its order by primarily copying the Defendant and the Court
allegations, shattered the claim, and affirmed-in-part, vacated-in-

part and remanded the claim to be resolved by this Court.

Plaintiffs objected to the Circuit’s order, emphasized that
the Circuit omitted significant materials of facts or lacked to

make decisions that should have been acted upon.

Plaintiffs provided with proof that the courts’ allegations in
their dismissals to the claims were “clearly erroneous.” The
Courts’ selection of law and its application of law to such
allegations regarding plaintiffs’ claim for tax refund element was
“contrary to law.” Plaintiffs complied with the applicable rules
and codes, bore the burden for establishing jurisdiction and proof
for the claim with preponderance of evidence. Their claim was for
ordinary income from trade or business (Form 1120S), i.e., business
relationship between Atek and shareholders. The ordinary income was
not capital or dividend as Defendant and the Court kept echoing:
not nonbusiness bad debt but business; no increase in basis of
stock, but total loss, to say the least. Plaintiffs’ undistributed
income became bona fide business bad debt because Atek was forced

into dissolution in 2004. Their debt was asserted by the promissory

 

 
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notes for years 2002 and 2003, as loans to Atek, Px C(1-2) and the
bad debt was supported by preponderance of evidence. Their 2004
refund claim was filed timely within the 7-year statute as admitted
by the IRS. Defendant and the courts never ever provided with any
proof to their allegations. They did not talk about the 2004 refund

claim, as admitted by the IRS.

The honorable court scheduled a Trial on December 9 and 10,
2019 to resolve the refund claim as remanded. Transcripts ECF No.

77 and 78.

Your Honor, you assured Plaintiffs in four pre-trial
telephonic conferences that you conducted on April 5, 2019, ECF No.
40; September 5, 2019, ECF No. 55; December 2, 2019, ECF No. 71; |
December 6, 2019, ECF No. 75; and confirmed in Trial on December 9
and 10, 2019 that the 2004 claim, as admitted by the IRS as
correctly filed, was the main focus. Your Honor, you and the
Defendant, initiated these calls to resolve the issues that
Defendant has raised against plaintiffs prior to trial. One of
these issues was Defendant’s harassments and meritless burdens and
insults during discovery, among other things. In order to rid of
such insults, Plaintiffs filed their Motion for Protective Order or
Motion to Abort their Claim for Tax Refund if Protective Order is
Denied, ECF No. 45. This motion was “shot down.” In every

telephonic conference call, four of them, Defendant's Counsel

 
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dwelled on the filing of 2003 refund claim which was rendered moot
along with 2002. In every telephonic conference call, Plaintiffs
disputed and objected to Defendant’s focus on the 2003 claim.
Plaintiffs reemphasized that their 2004 refund claim, was the heart
of this action. It was the reason for filing this action, not 2002
and 2003, because the IRS admitted that it was correctly filed but
failed to process it. [t was a condition that I raised in order to
continue with the Trial. You assured me of that, Your Honor, but
you respectfully reneged on your assurance and focused on the 2003
refund claim. After 23 objections by Defendant's Counsel and
continuous harassments, and make-to-believe allegations, and
several hours of Defendant’s unwarranted duplicated document
certifications, Plaintiffs decided to continue with the Trial, in

respect for the Honorable Judge and the legal system.

To prove Mr. Joseph Dianto’s admission of the 2004 refund
claim, in person: (1) Plaintiffs subpoenaed Mr. Dianto to appear
and testify at Trial, ECF No. 65. (2) Defendant filed a motion for
a conference call to exclude the testimony of Mr. Dianto, ECF No.
66. (3) On the same day of ECF 66, Defendant filed a motion to
exclude the testimony of Mr. Dianto, ECF No. 67. {4) The court
complied and issued an order to initiate the call, ECF No. 68. (5)
The court conducted a telephonic conference call in this regard and
others, Transcript ECF No. 71. (6) The court issued an order

granting Defendant’s motions to exclude Mr. Dianto from testifying

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at Trial, ECF 69. Plaintiffs objected and were “shot down.” The
Honorable Judge asserted that Mr. Dianto’s letter will suffice in
Trial. That was not the case in Trial (see below). Mr. Dianto was a
viable witness, but his appearance to testify was rejected, as
noted above. He wrote the IRS’ admission letter, PX I(1) that the
2004 refund claim was correctly filed within the 7-year statute for
business bad debt. It seemed obvious that the Defendant and the
Court colluded and rejected Mr. Dianto’s appearance to testify his
letter of determination dated March 22, 2016, PX I(1), and
Plaintiffs’ response, PX 1(2), for fear of exposing the Court and
Defendant of the truth to the refund claim, as plaintiffs have

opined. Here is the proof for the collusion and rejection of Mr.

Diantos’ letter:

1. Ironically, Defendant's Counsel presented most applicable
trial exhibits that were duplicate to plaintiffs’ exhibits,
nothing was new. Counsel excluded Mr. Dianto’s letter of
March 22, 2016 and Plaintiffs’ response letter of March 28,
2016. Counsel intentionally ignored them and omitted them
from Defendant’s exhibits, unlike any other exhibit.

2. Defendant’s Counsel objected my testimony about Mr.
Dianto’s letter, PX I(1). Counsel interrupted and told the
Judge: “Your Honor, we object. This is not relevant...”

3. Defendant's Counsel objected my testimony of Plaintiffs’

letter, PX I(2}) in response to Mr. Dianto’s letter, PX

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I(1).

4. The Court asked: “May the court admit PX I({1) and Px 1(2)?

5. Defendant’s Counsel responded: “Your Honor, we would have
the same objection that the PX I{1) is not relevant...

6. The Court responded: “The Court will nonetheless admit them
for the context...”

7. Admitting the two exhibits as “nonetheless for the
context...” was respectfully meaningless, because the
Honorable Judge reneged on his assurances and excluded the
2004 refund claim from his ruling. The Honorable Judge
never talked about any of Plaintiffs’ exhibits in support

of their 2004 refund claim in any of his rulings.

Plaintiffs emphasize that Mr. Dianto’s letter of admission
that the 2004 refund clam was correctly filed and Plaintiffs’
response letter were relevant, absolutely. Defendant and the
Honorable Court colluded in this regard and omitted, ignored and
excluded talking about it. As emphasized above, Defendant’s Motion
to Dismiss did not request the 2004 refund claim to be dismissed.
It only requested the 2002 and 2003 to be dismissed. Your Honor,
this is important to tend to and consider in your ruling, even if

you made an error the first ruling in your granting the dismissal.

Your Honor, you asserted in your Order, BCF 96, that “Fn their

motion, plaintiffs contend that the court's decision failed to take

 
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account of their 2004 refund claim and the court wrongly focused on

tax year 2003.”

Your Honor, you contended that “The arguments presented by
plaintiffs echo those presented in their post-trial briefing and
were considered by the court in its ruling. Plaintiffs’ 2004 tax

refund claim was dismissed by this court...”

Plaintiffs reemphasize that the Court failed to take account
of plaintiffs’ 2004 tax refund claim, and the Court wrongly
concentrated solely on the tax year 2003 and detailed mailing and
expected evidence of mailing receipts after 12 years, three
residential locations between two States and thousands of boxes
moved. Unreal! The court concentrated on mailing because Defendant
filed its Notice of Denial of Petition for a Writ of Certiorari in
Baldwin v. United States on March 11, 2020, that was totally
irrelevant to plaintiffs’ case. Defendant brought up the issue of
mailing in its Notice after it filed its Post-Trial Memorandum, ECF
No. 85 - a violation of the Trial, not part of the Trial’s

Schedule.

It was obvious that the Court definitely did not consider the
2004 refund claim in its ruling, nor dismissed it, as alleged in
its Order. It only granted Defendant’s motion to dismiss years 2002
and 2003 refund claims only, although they were moot, as Defendant

requested. See page 2-3 above. There is no evidence what’s so ever

 
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that the 2004 refund claim was requested to be dismissed by

Defendant or was dismissed by the Court accordingly.

In its Opinion and Order filed on April 1, 2020, ECF No. 92,
the Court concentrated on the 2003 refund claim which was rendered
moot. The “tax year 2004”, was mentioned three times, (9 words),
two on page 1, Ql, and one on page 2, 972 in its 9-page order. These
3 times, “tax year 2004” have no indication relative to the 2004
tax refund claim determined by the IRS as correctly filed within
the 7-year statute and for the year within which the debt became
worthless. Anything echoed in regards to the 2003 refund claim or
the 2002, should not be an issue since the Complaint was filed,
specifically for 2004 refund claim that was admitted by the IRS.
Both 2002 and 2003 were rendered moot, immediately when the

Complaint was filed.

Respectfully, Your Honor, Plaintiffs were not treated justly
or fairly. The courts failed their jurisdiction and justice. The
Court ignored the 2004 refund claim; did not including the 2004
claim in its rulings; did not dismiss the 2004 refund claim {only
the moot 2002 and 2003); ignored the preponderance of evidence
provided; ignored the IRS’ admission of the 2004 claim as correctly
filed within the 7-year statute for business bad debt; ignored that
a major shareholder of Atek, Mr. Khalil, was refunded his federal

and state taxes for 2002 and 2003 of over $200,000, (Counsel’s

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letter of November 8, 2019, re Subpoena for production of documents
to Eyad Khalil, labeled KHA1-00001-KHAL-00007) ; ignored that Mr.
Mohammed Taha and Mr. Moussa Taha were refunded their California
State taxes for the same years. Plaintiffs provided the Court with
evidence of these refunds. You ignored them. Why the double

standard, Your Honor?

Your Honor, the Court, which is a government entity, was
respectfully bias. It was not fair. You and the IRS respectfully

and unfortunately adopted the double standards which should not

have a say in the legal system.

For the sake of justice to plaintiffs, I respectfully ask this
Honorable Court to reconsider its “erroneous” orders of dismissals
and denials that were improperly assessed to the wrong refund
claims (2002 & 2003) that were moot, and ignoring the actual

subject claim of this action (2004), and grant Plaintiffs their tax

refund claim of $14,177.

That said, Plaintiffs pray for a fair and just judgment in
their favor in consideration of the 2004 refund claim, the heart

and the reason for this this action.

Dated: May 15, 2020 ()s wv Ns exh

—=

Ali M. Taha, POA
For Plaintiffs

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PROOF OF SERVICE
STATE OF FLORIDA, COUNTY OF MANATEE
I certify that I served the foregoing document described as
PLAINTIFFS’ OBJECTION TO COURT’S SECOND POST TRIAL OORDER

on all interested parties in this action by placing the true copies
thereof enclosed in sealed envelopes mailed with postage thereon

fully prepaid to:

Elizabeth A. Kanyer, Esquire
U.S. Department of Justice
Court of Federal Claims Section
Post Office Box 26

Ben Franklin Station
Washington, DC 20044

Executed on May 14, 2019

I declare under penalty of perjury under the laws of the
United States of America the foregoing is true and correct.

 

Ali M. Taha

Mohamad Taha v US — Obj to CFC Order(final)-Revl

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Ali Taha

for M. Taha ands. Yassin.
247.Dove trl
Bradefiton, FL 34212:

 

U.S. Court of Federal Claims .

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Clerk's Office, Room 103. .
.'717 Madison Place, NW

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